         Case
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
DEBORAH LAUFER,
                                                                    CASE NO.: 1:19-CV-1464
                            Plaintiff,

v.
INDRA HOLDINGS, LLC, LATHAM
LODGING, LLC, and PHILLY BAR & GRILL
LLC,
                          Defendants.
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                                 VOLUNTARY DISCONTINUANCE
         Plaintiff, by and through the undersigned counsel, hereby notifies This Court that

this action       against    the defendant INDRA HOLDINGS, LLC, LATHAM L O D G I N G ,

LLC,        and      PHILLY              BAR      &     GRILL       LLC,        is Voluntarily Dismissed

pursuant to FRCP Rule 41(A)(i) without prejudice.
        DATED : New York, New York
               January 17, 2020
                                                      Respectfully Submitted,

                                                      LAW OFFICES OF PETER SVERD, PLLC


                                                By:
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                                                                    January 17, 2020
